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                                                  Court-Appointed Temporary Receiver for Link Motion
                                                  Inc. Pursuant to The Honorable Judge Victor Marrero of
                                                  the United States District Court, Southern District of New
                                                  York
469 7th Avenue, 5th Floor
New York, NY 10036
Tel: (646) 7661724
Email: rseiden@seidenlawgroup.com

March 2, 2021

VIA ECF
Honorable Debra C. Freeman
Magistrate Judge
United States Courthouse
500 Pearl Street
New York, New York 10007

       Re: Baliga v. Link Motion Inc. et al., 1:18-cv-11642 (S.D.N.Y.) (VM) (DCF)

Dear Magistrate Judge Freeman:

        I write to inform the Court of a material development pursuant to the Receiver’s
obligations under Judge Marrero’s Order appointing me as the Temporary Receiver over Link
Motion Inc. (“Receivership Order”) (ECF 26).

        On February 1, 2019, the Honorable Judge Victor Marrero appointed the Receiver and
directed the Receiver to, among other things, “(iv) immediately halt Defendant Shi’s oversight
of the dispute and arbitration between the Company and Zhongzhi; and (v) ensure that litigation
or arbitration matters are directed and controlled by the Company’s lawyers, the appointed
Receiver, and/or the non-conflicted board members as directed by the Receiver.” See
Receivership Order at paragraph I (2).

       As outlined above and in accordance with the Receiver’s powers under the Receivership
Order to “commence, continue, join in, and/or control any action, suit, arbitration or proceeding
of any kind or nature, in the name of the Company or otherwise” (see Receivership Order at
paragraph II (2) (e)), the Receiver’s legal counsel appeared in and defended the arbitration (the
“Arbitration”) that was brought by Zhongzhi Hi-Tech Overseas Investment Ltd. (“Zhongzhi”)
against Link Motion Inc. before the Hong Kong International Arbitration Tribunal. In the
Arbitration, Zhongzhi sought to recover the approximately $137 million unpaid balance of a
convertible note (the “Note”) issued to Link Motion that became due in October 2018. The
Receiver’s counsel asserted counterclaims against Zhongzhi in the Arbitration, including a claim
that Zhongzhi aided and abetted Dr. Shi in breaching his fiduciary duties to Link Motion by
causing Link Motion to sign two agreements (the “Pledge Agreements”) in September 2018 that
pledged substantially all of its assets to Zhongzhi for no consideration.

       On February 16, 2021, following extensive pre-hearing briefing, an evidentiary hearing,
and post-hearing briefing, the Tribunal in the Arbitration issued its Final Award. See Exhibit 1.
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                                                   Court-Appointed Temporary Receiver for Link Motion
                                                   Inc. Pursuant to The Honorable Judge Victor Marrero of
                                                   the United States District Court, Southern District of New
                                                   York
The Final Award, in relevant part, awards Zhongzhi the unpaid balance of the Note, but also finds
that Zhongzhi aided and abetted breaches of fiduciary duty by Dr. Shi and rescinds the Pledge
Agreements in their entirety.

        In accordance with the Receiver’s duties to “provide interim reports to the Court every
 six months from the date of this Order, or as otherwise directed by the Court or as the Receiver
 deems appropriate under the circumstances[,]” (see Receivership Order at paragraph II (8)) the
 Receiver is hereby filing the Final Award as Exhibit 1 to this letter.

        Please do not hesitate to contact me via email or telephone if your Honor wishes to
 discuss this matter in further detail.

                                                     Sincerely,



                                                      Robert W. Seiden, Esq.
                                                      Court-Appointed Temporary Receiver
                                                      for Link Motion Inc
